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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

 

UNITED STATES OF AMERICA,
Case:2:19-cr-20024
inti Judge: Drain, Gershwin A.
Plaintiff, MJ: Stafford, Elizabeth A.
Filed: 01-15-2019 At 04:42 PM

 

V. INDI USA V. SEALED MATTER (DA)
D-1 NAVEEN PRATHIPATI, VIO: 18 U.S.C. § 371
(Conspiracy to commit visa
Defendant. fraud and to harbor aliens for
profit)
:
/
INDICTMENT
|

THE GRAND JURY CHARGES:
At all times pertinent to this indictment:
General Allegations

1) From approximately May 2017 through January 2019, the defendant, a
foreign citizen acting in concert with others, assisted at least 15 other foreign
citizens to illegally remain, re-enter and work in the United States, and
actively recruited them to enroll into a fraudulent school as part of a “pay to
stay” scheme. Because of his recruiting success, he profited at least $15,000

dollars.

 
 

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The Student Visa Process

 

2) The laws of the United States require foreign citizen students to obtain a visa
prior to entry into the United States. A visa is an endorsement placed within a —
passport that grants the holder official permission to enter, leave or stay in the
United States for a specified period. A foreign citizen who wishes to enter

and remain in the United States to pursue a course of study at a college,

university, or other academic institution, must first obtain an F-1 non-
immigrant visa, also known as a student visa (“F-1 visa”). The F-1 visa
permits a foreign citizen student to enter and remain in the United States on a
temporary basis to study, and requires the foreign citizen student to return to
their native country after completing their course of study.

3) To obtain an F-1 visa, a foreign citizen must first apply to study at a school
within the United States that has been certified by the Student and Exchange
Visitor Program (“SEVP”) to enroll and educate foreign students. The United
States Department of Homeland Security oversees the certification and
administration of the SEVP. If accepted, the school will provide the foreign
citizen with a “Certificate of Eligibility for Nonimmigrant Student Status,”
also known as a Form I-20 (“Form I-20”).

4) By issuing a Form I-20 to a foreign citizen student, an SEVP-approved school

certifies that the individual: (1) meets all standards of admission for the school

 
 

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based on a review of the student’s application, transcripts, proof of financial

 

responsibility, and other records; and (2) has been accepted for, and would be
required to pursue, a full course of study.

5) Once a foreign citizen student receives a Form I-20, that individual may apply
for an F-1 visa. As part of the F-1 visa application process, the foreign citizen
student must: 1) complete a non-immigrant visa application; and 2) attend an

F-1 visa interview at the United States Embassy or Consulate in the student’s

native country. Upon approval of the F-1 visa, the foreign citizen student can

use the F-1 visa and Form I-20 to enter and remain in the United States for the

duration of study.

6) A foreign citizen student must present both their F-1 visa and the Form I-20
to a United States Immigration Officer upon arrival at any United States port-
of-entry. Once a foreign citizen student has been admitted to the United
States, the Form I-20 is used as their identification, and proof of legal and
academic status.

7) After a foreign citizen student completes his or her course of study, that
individual is required to depart the United States within 60 days. Conversely,
if the foreign citizen student is no longer enrolled as a full-time student in an
approved educational program, making normal progress toward completion

of the course of study, stops attending school, or drops below the full course

 
 

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of study without authorization, they are considered as being “out of status” or

 

having “failed to maintain status.” Once the foreign citizen student is “out of
status” or having “failed to maintain status,” they must depart the United
States within 15 days.

8) The United States Department of Homeland Security manages foreign
students in the United States through the Student and Exchange Visitor

Information System (“SEVIS”). SEVIS is an internet-based data system that

provides school and government officials, including immigration officials,

with access to current information on nonimmigrant foreign citizen students,

exchange aliens, and their dependents.

9) Once in the United States, a foreign citizen student is permitted to transfer
from one SEVP-certified school to another, as long as that individual
maintains valid F-1 student status and is pursuing a full course of study. To
effect such a transfer while maintaining valid status, a foreign citizen student
must first obtain a school acceptance letter and a SEVIS transfer form from
the SEVP-certified school to which the student intends to transfer. The foreign
citizen student may then transfer to that school, obtain a Form I-20, and
remain in the United States as long as he or she pursues a full course of study

at the new SEVP-certified school.

 
   

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10) In addition to taking a full course of study at an accredited institution,
certain F-1 foreign citizen students may also seek practical training — which
could include paid employment. However, the practical training must be
directly related to the student’s major and is therefore considered part of the
student’s program of study.

11) One type of practical training available to certain F-1 students include
curricular practical training (“CPT”). CPT is an alternative work/study,
internship, cooperative education, or any other type of required internship or
practicum that is offered by sponsoring employers through cooperative
agreements with a SEVP-certified institution. An F-1 student may be
authorized by designated school officials to participate in a CPT program that
is an integral part of an established curriculum.

12) _—_‘ If approved by, an F-1 student may obtain a new Form I-20 indicating
that he or she has been approved for CPT. Generally, therefore, as long as an
F-1 student has been properly enrolled at an SEVP- certified school, has taken
classes and earned credits, and has made academic progress toward
graduation, that F-1 student may have the opportunity to work full or part-
time CPT, in addition to taking classes.

13) When foreign citizen students want to travel abroad, they must have a

valid travel endorsement on their Form I-20, which can be authorized by their

 
 

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school’s designated officials. Additionally, foreign citizen students are
required to take their Form I-20 with them when they travel abroad. As such,
the document is commonly referred to as a “Travel I-20.” The “Travel I-20”
acts as an entry document into United States. Therefore, the foreign citizen
student must present their authorized “Travel I-20” to a United States
immigration officer upon arrival at the United States port-of-entry to be able

to lawfully re-enter the United States.

14) The Form I-20 is a multipurpose document. Among other uses, the

Form I-20: (1) allows an individual to apply for an Fl student visa at a United
States embassy or consulate abroad, lawfully enter and remain in the United
States; (2) is used as identification, evidence of authorized stay, and proof of
legal and academic status once a student has been admitted to the United
States; (3) operates as an entry document for foreign citizen students who
travel abroad and; (4) permits a foreign citizen student to participate in

practical training related to their course of study.

15) The non-immigrant F-1 student visa does not create a direct path to

 

United States citizenship nor does it immediately allow a foreign citizen
student to lawfully work in the United States. However, a foreign citizen
student who obtains an offer of employment with a United States company

willing to sponsor the student to remain in the United States, may be eligible
 

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for an H1-B visa. This sponsoring company must demonstrate that it has an

 

exclusive need for the foreign citizen student and must prove that the task
being performed by the foreign citizen student cannot be accomplished by a
local citizen because they are either unavailable or academically or
professionally unqualified.
16) Even though the H-1B visa is a non-immigrant visa it is one of the few
United States visa categories recognized as dual intent, meaning that the
sponsoring employer can petition for the foreign citizen student/employee to
change from H1B to Lawful Permanent Resident status. A Lawful Permanent
Resident, otherwise known as a “Green Card” holder, who is physically
present in the United States for at least 5 years, and meets all other eligibility
requirements, can seek to become a naturalized citizen of the United States.
The University of Farmington
17) From on or about May 2017 through on or about January 2019,
undercover agents from Homeland Security Investigations (“HSI”) posed as
owners and employees of the University of Farmington (“University”), which
was physically located in Farmington Hills, Michigan.
18) Beginning in 2015, the University was part of a federal law
enforcement undercover operation designed to identify recruiters and entities

engaged in immigration fraud. The University was not staffed with

 
 

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instructors/educators; it had no curriculum, no actual classes nor any

 

educational activities being conducted therein. Rather, the University was
being used by foreign citizens as a “pay to stay” scheme which allowed these
individuals to stay in the United States as a result of foreign citizens falsely
asserting that they were enrolled as full-time students in an approved
educational program and that they were making normal progress toward
completion of the course of study.

19) Each of the foreign citizens who “enrolled” and made “tuition”

payments to the University knew that they would not attend any actual classes,

earn credits, or make academic progress toward an actual degree in a
particular field of study — a “pay to stay” scheme. Rather, their intent was to
fraudulently maintain their student visa status and to obtain work
authorization under the CPT program. Each student knew that the University’s
program was not approved by the United States Department of Homeland
Security (“DHS”), was illegal, and that discretion should be used when
discussing the program with others.

20) The defendant herein was a “recruiter” and profited from the “pay to
stay” scheme. In exchange for cash, kickbacks, “scholarships” and tuition
credits, the defendant enlisted foreign citizens to enroll at the University. The

defendant, in furtherance of the fraud scheme, conspired with foreign citizens

 
 

   

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to fraudulently maintain their non-immigrant status as “students” and helped
them unlawfully stay and obtain employment authorization in the United
States.

21) Additionally, the defendant facilitated the creation of false student
records, including transcripts, for the purpose of deceiving immigration

authorities.

These General Allegations are incorporated in each count of the indictment.

COUNT ONE

(Conspiracy to Commit Visa Fraud and Harbor Aliens for Profit, 18 U.S.C. §
371)

D-1 Naveen Prathipati

From on or about May 2017 up to and including the date of this indictment,
in Oakland County, in the Eastern District of Michigan, and elsewhere, Naveen
Prathipati, defendant herein, did knowingly and intentionally conspire and agree
with others, known and unknown to commit the following offenses against the

United States:

(a) to knowingly, or knowingly cause another, to possess, obtain, accept, and
receive a “Certificate of Eligibility for Nonimmigrant Student Status,” also known

as a Form I-20, a document proscribed by statute and regulation for entry into and

 
 

   

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as evidence of authorized stay in the United States, knowing that such form had been
procured by means of false claims and statements, and to have been otherwise
procured by fraud and unlawfully obtained, in violation of Title 18, Sections 1546(a)
and 2; and

(b) to knowingly, or in reckless disregard of the fact that an alien remains in
the United States in violation of law, conceal, harbor or shield from detection, such
alien in any place, for the purpose of commercial advantage or private financial gain,
in violation of Title 8, Sections 1324(a)(1)(A)(iii); 1324(a)(1)(B)().

Overt Acts

In furtherance of the conspiracy and to effect its unlawful objects, the

defendants committed and caused to be committed the following overt acts, among

others, in the Eastern District of Michigan and elsewhere:

1) On May 18, 2017, Naveen Kumar Prathipati traveled to the University and
met with an HSI undercover agent. During the meeting, the undercover agent and
Prathipati discussed enrolling in the University without attending classes in order to
fraudulently maintain his immigration status. Prathipati went on to discuss

recruiting students in exchange for tuition credits and a degree.

2) On July 19, 2017, Prathipati traveled to the University and met with an
HSI undercover agent and discussed Prathipati receiving cash payments for

recruiting students.

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3) On November 26, 2018, Prathipati traveled to the University and met with

an HSI undercover agent to collect $7500 for recruiting students.

In violation of Title 18, United States Code, Section 371.

Forfeiture Allegations

(18 U.S.C. § 982(a)(6) and 18 U.S.C. § 981(a)(1)(©), 28 U.S.C. § 2461(c))

The General Allegations and allegations contained in Count One of this
Indictment are hereby re-alleged and incorporated by reference for the purpose of
alleging forfeiture pursuant to the provisions of 18 U.S.C. § 982(a)(6), as well as 8

U.S.C. § 1324(b) and 28 U.S.C. § 2461(c).

Upon conviction of the forgoing violation of 18 U.S.C. § 371, as charged in
Count One of this Indictment, the convicted defendant(s) shall forfeit to the United
States, under 18 U.S.C. § 982(a)(6) and/or under 18 U.S.C. § 981(a)(1)(C) together
with 28 U.S.C. § 2461(c) his/her right, title, and interest in any property, real or
personal, which constitutes, or is derived from, or is traceable to proceeds of the
commission of the offense, and all property, real or personal, which was used to

facilitate or intended to be used to facilitate, the commission of such an offense.

Such property includes, but is not limited to, a forfeiture money judgment
against the convicted defendant(s) in an amount to be determined, representing the

total value of all property subject to forfeiture.

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If any of the property described above as being subject to forfeiture, as a

result of any act or omission of the convicted defendant(s):

A. cannot be located upon the exercise of due diligence;
B. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the court;

D. has been substantially diminished in value; or

E. has been commingle with other property which cannot be divided without

difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b) and/or 28 U.S.C.

 

§ 2461(c).
THIS IS A TRUE BILL
s/Grand Jury Foreperson
GRAND JURY FOREPERSON
MATTHEW SCHNEIDER

United States Attorney

s/Cathleen Corken

CATHLEEN CORKEN
Chief, National Security Unit
Assistant United States Attorney

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s/Brandon Helms
BRANDON HELMS
Assistant United States Attorney

s/Timothy P. McDonald
TIMOTHY P. MCDONALD
Assistant United States Attorney

S/Ronald W. Waterstreet
RONALD W. WATERSTREET
Assistant United States Attorney

Dated: January 15, 2019

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United States District Court imi
Eastern District of Michigan Criminal Case Cover Sheet | Case Number

 

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

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This may be a companion case based upon LCrR 57.10 (b)(4)": Judge Assigned:

 

 

 

A
Clyes No AUSA’s Initials: 7A W/

 

 

Case Title: USA v: NAVEEN PRATHIPATI

County where offense occurred : Oakland County

Check One: [X|Felony _IMisdemeanor [ |Petty
Vv _Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

 

Superseding to Case No: Judge:

 

[Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
|_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for

the above captioned case. / / Zp
v Vy O nC ov)

January 15, 2019

Date Ronald Waterstreet
Assistant United States Attorney

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Detroit, Ml 48226-3277

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1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
B/1¢
